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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


ZOYA QAIYUM, Individually and on )           Civ. No. 21-11528
Behalf of All Others Similarly Situated, )
                                         )   CLASS ACTION
                         Plaintiff,      )
                                             COMPLAINT FOR VIOLATIONS OF
                                         )
      vs.                                    THE FEDERAL SECURITIES LAWS
                                         )
ROCKET COMPANIES, INC., JAY D. )
FARNER, JULIE R. BOOTH,                  )
ROBERT DEAN WALTERS and                  )
DANIEL GILBERT,                          )
                                         )
                         Defendants. )
                                         )
                                         )   DEMAND FOR JURY TRIAL
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      Plaintiff Zoya Qaiyum (“plaintiff”), individually and on behalf of all others

similarly situated, by plaintiff’s undersigned attorneys, for plaintiff’s complaint

against defendants, alleges the following based upon personal knowledge as to

plaintiff and plaintiff’s own acts, and upon information and belief as to all other

matters based on the investigation conducted by and through plaintiff’s attorneys,

which included, among other things, a review of U.S. Securities and Exchange

Commission (“SEC”) filings of Rocket Companies, Inc. (“Rocket” or the

“Company”), the Company’s press releases, and analyst reports, media reports, and

other publicly disclosed reports and information about the Company. Plaintiff

believes that substantial additional evidentiary support will exist for the allegations set

forth herein after a reasonable opportunity for discovery.

                            NATURE OF THE ACTION

      1.     This is a securities class action on behalf of all purchasers of Rocket

Class A common stock between February 25, 2021 and May 5, 2021, both dates

inclusive (the “Class Period”), seeking to pursue remedies under the Securities

Exchange Act of 1934 (the “1934 Act”) against Rocket and certain of the Company’s

senior officers and directors.

                           JURISDICTION AND VENUE

      2.     The claims asserted herein arise under and pursuant to §§10(b) and 20(a)

of the 1934 Act [15 U.S.C. §§78j(b) and 78t(a)], and SEC Rule 10b-5 [17 C.F.R.


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§240.10b-5] promulgated thereunder. This Court has jurisdiction over the subject

matter of this action pursuant to 28 U.S.C. §1331 and §27 of the 1934 Act.

      3.     Venue is proper in this District pursuant to 28 U.S.C. §1391(b), and §27

of the 1934 Act, because Rocket is headquartered in this District and many of the acts

and practices complained of herein occurred in substantial part in this District.

      4.     In connection with the acts alleged in this complaint, defendants, directly

or indirectly, used the means and instrumentalities of interstate commerce, including,

but not limited to, the mails, interstate telephone communications and the facilities of

the national securities markets.

                                      PARTIES

      5.     Plaintiff Zoya Qaiyum, as set forth in the certification attached hereto and

incorporated by reference herein, purchased Rocket Class A common stock during the

Class Period and has been damaged thereby.

      6.     Defendant Rocket is an online mortgage lender. Rocket Class A

common stock trades on the New York Stock Exchange (“NYSE”) under the ticker

symbol “RKT.”

      7.     Defendant Jay D. Farner (“Farner”) was at all relevant times the Chief

Executive Officer (“CEO”) and Vice Chairman of Rocket.

      8.     Defendant Julie R. Booth (“Booth”) was at all relevant times the Chief

Financial Officer (“CFO”) and Treasurer of Rocket.


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      9.     Defendant Robert Dean Walters (“Walters”) was at all relevant times the

President and Chief Operating Officer (“COO”) of Rocket.

      10.    Defendant Daniel Gilbert (“Gilbert”) is the founder and former CEO of

Rocket. During the Class Period, defendant Gilbert served as the Chairman of the

Board of Directors of Rocket.

      11.    The defendants referenced above in ¶¶7-10 are collectively referred to

herein as the “Individual Defendants.”

      12.    Each of the Individual Defendants was directly involved in the

management and day-to-day operations of the Company at the highest levels and was

privy to confidential proprietary information concerning the Company and its

business, operations, services, competition, acquisition plans, and present and future

business prospects, as alleged herein. In addition, the Individual Defendants were

involved in drafting, producing, reviewing and/or disseminating the false and

misleading statements and information alleged herein, were aware of, or recklessly

disregarded, the false and misleading statements being issued regarding the Company,

and approved or ratified these statements, in violation of the federal securities laws.

      13.    As officers and controlling persons of a publicly held company whose

securities are registered with the SEC pursuant to the 1934 Act and trade on the

NYSE, which is governed by the provisions of the federal securities laws, the

Individual Defendants each had a duty to promptly disseminate accurate and truthful

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information with respect to the Company’s operations, business, services, markets,

competition, acquisition plans, and present and future business prospects. In addition,

the Individual Defendants each had a duty to correct any previously issued statements

that had become materially misleading or untrue, so that the market price of the

Company’s publicly traded common shares would be based upon truthful and accurate

information. Defendants’ false and misleading misrepresentations and omissions

during the Class Period violated these specific requirements and obligations.

      14.    The Individual Defendants, because of their positions of control and

authority as officers and/or directors of the Company, were able to, and did, control

the content of the various SEC filings, press releases and other public statements

pertaining to the Company during the Class Period. Each Individual Defendant was

provided with copies of the documents alleged herein to be misleading before or

shortly after their issuance, participated in conference calls with investors during

which false and misleading statements were made, and/or had the ability and/or

opportunity to prevent their issuance or cause them to be corrected. Accordingly,

each Individual Defendant is responsible for the accuracy of the public statements

detailed herein and is, therefore, primarily liable for the representations contained

therein.




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                                 BACKGROUND

      15.    Defendant Gilbert founded Rocket in 1985. Rocket, based in Detroit, is

the largest mortgage originator in the United States, with an estimated 9.2% market

share as of March 31, 2020. The Company operates the Rocket Mortgage online

platform, which allows clients to apply for and service mortgages through the Internet

or by using the Company’s proprietary mobile phone app. Ninety percent (90%) of

the Company’s revenues are derived from originating, closing, selling and servicing

home mortgages.

      16.    Rocket operates two primary segments: (i) the Direct-to-Consumer

segment; and (ii) the Partner Network segment. In its Direct-to-Consumer segment,

Rocket directly interacts with clients and potential clients using various performance

marketing channels. In its Partner Network, Rocket partners with third parties who

utilize the Company’s platform to provide their clients with mortgage solutions. The

Partner Network has lower operating margins because Rocket shares profits with its

partners. Historically, Rocket’s Direct-to-Consumer segment has accounted for the

substantial majority of the Company’s revenues.        For example, the Direct-to-

Consumer segment accounted for approximately 76% of the Company’s total

revenues for the quarter ended March 31, 2020, compared to 17% of total revenues

attributable to Rocket’s Partner Network segment during the quarter.




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      17.    Rocket’s mortgage origination business generates revenues primarily

from the gain on sale of loans, which includes loan origination fees, revenues from

sales of loans into the secondary market, as well as the fair value of originated

mortgage serving rights and hedging gains and losses. One of the most important

metrics in measuring Rocket’s financial performance is the Company’s gain on sale

margin, which refers to the Company’s net gain on sale of loans divided by the net

rate lock volume for the period, excluding all reverse mortgage activity. Net rate lock

volume refers to the unpaid principal balance of loans issued by the Company subject

to interest rate lock commitments, net of certain factors identified by Company. The

gain on sale margin is viewed by investors as a core measure of Rocket’s profitability.

      18.    In August 2020, Rocket completed its initial public offering (“IPO”),

selling 100 million Class A shares at $18 per share for $1.8 billion in gross offering

proceeds. The registration statement for the IPO represented that Rocket was

experiencing a historic surge in demand for the Company’s products, which had

resulted in record-setting gain on sale margin. The registration statement further

represented that, for the first six months of 2020, Rocket preliminarily estimated it had

achieved over $124 billion in closed loan origination volume, compared to $54 billion

in the prior year period, and a gain on sale margin of 5.10% to 5.25%, compared to

3.19% gain on sale margin for fiscal 2019. The registration statement stated that

Rocket had “significant opportunity for continued growth as we advance and leverage

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our technology, brand, scale and commitment to providing an exceptional client

experience,” stating in pertinent part as follows:

             We believe our platform and technology create a significant
      financial advantage. Our brand effectiveness and marketing capabilities
      optimize client acquisition investments and our automated processes
      reduce unnecessary costs across the origination process. We create
      significant operating leverage through automation. We can scale quickly
      and efficiently which allows us to grow both the number of
      transactions and transaction profitability.

      19.    On September 2, 2020, after the IPO, Rocket issued a press release

announcing its financial results for the second quarter of 2020. The Company

reported “record” closed loan origination volume of $72.3 billion and a gain on sale

margin of 5.19% during the quarter, compared to $32 billion closed loan origination

volume and 3.23% gain on sale margin during the second quarter of 2019. Defendant

Farner commented on the results, claiming that these favorable trends were expected

to continue, and stating in pertinent part as follows:

            “While I’m proud of our performance, I am even more
      encouraged by the significant opportunity that remains in front of us
      as we continue to execute on our plan of achieving 25 percent market
      share by 2030. It is clear that our simple, client-focused, digital
      approach is continuously and fundamentally disrupting the way our
      industries do business.”

      20.    On November 10, 2020, Rocket issued a press release announcing its

financial results for the third quarter of 2020. The Company reported closed loan

origination volume of $89 billion and a gain on sale margin of 4.52%. Defendant

Farner commented on the results and hailed Rocket’s ability to “‘maintain[] industry-

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leading margins and profitability’” and the continued strength of the business, stating

in pertinent part as follows:

             “While the mortgage industry sits at a critical inflection point,
      Rocket Companies continues to build for the future – always looking
      for the next opportunity. Throughout the first three quarters of 2020, we
      have generated $6.6 billion in GAAP net income. As the Company
      enters the last quarter of 2020, it does so with all cylinders firing and
      looks forward to a strong end to the year.”

      21.    During an earnings conference call held that same day, defendant Booth

stated that Rocket expected its margins to remain elevated “going into the upcoming

years,” stating in pertinent part as follows:

             So – and as we look ahead into Q4, margins are still strong by
      historical standards, and they’re continuing to stay elevated. We think
      that demand that we’re going to continue to see with 70% of folks able
      to refinance and the amount of refinance volumes you take that into
      the next couple of years, if there’s 6 trillion or 7 trillion out there ready
      to be refinanced, that is something that’s going to take years to work
      through, which will continue to elevate that demand, we believe, going
      into the upcoming years. And so we feel really good about where our
      gain on sale margins and volumes are heading here into the fourth
      quarter.

      22.    During the earnings conference call, in response to another analyst

question regarding Rocket’s gain on sale margins, defendant Booth similarly

represented that the uptick in demand was expected to last “years,” stating that “the

demand that we’re seeing now will continue to probably have a nice upward impact

on those margins, relative to the sort of historic levels that we have seen into the




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upcoming years. How long that will last? It’s to be seen, but like I said, there’s quite

a lot of demand still out there into the upcoming years.”

      23.    The statements identified in ¶¶18-22, above, remained alive in the market

and uncorrected at the start of the Class Period.

     MATERIALLY FALSE AND MISLEADING STATEMENTS AND
        OMISSIONS ISSUED DURING THE CLASS PERIOD

      24.    The Class Period begins on February 25, 2021. On that date, Rocket

issued a press release titled, in part, “Rocket Companies Experiences Explosive

Growth,” which announced the Company’s financial results for the fourth quarter and

full year of 2020 (the “FY20 Release”).         The Company reported closed loan

origination volume of $107.2 billion and gain on sale margin of 4.41% for the fourth

quarter. Rocket emphasized that it had “[i]ncreased gain on sale margin by 100 basis

points year-over-year” during the quarter and “[i]ncreased gain on sale margin by 127

basis points year-over-year to 4.46%” for the full-year period. Rocket also announced

a special dividend of $1.11 per share of Class A common stock. Defendant Farner

commented on the results, attributing “‘Rocket Companies’ record-breaking fourth

quarter and full year 2020 results’” and the recently announced special dividend to

Rocket’s “‘highly profitable and capital light business model.’” Rocket claimed that it

continued to experience gain on sale margin growth year-over-year, stating that

Rocket for the first quarter of 2021 was on track to achieve “[g]ain on sale margins of



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3.60% to 3.90%, which would be an improvement of 35 to 65 basis points compared

to 3.25% in the first quarter of 2020.”

      25.    On the same day, Rocket held an earnings conference call with analysts

and investors to discuss Rocket’s fourth quarter and full-year 2020 results hosted by

defendants Farner, Booth and Walters. In her prepared remarks, defendant Booth

repeated the gain on sale margin guidance provided in the FY20 Release and claimed

that Rocket had “finished 2020 on a particularly strong note” as evidenced by “the

continued strength and momentum of the Rocket platform.” Defendant Booth also

stated in pertinent part as follows:

      The Rocket platform is built to perform and grow in the largest, most
      complex markets. Our infrastructure also leads to a highly efficient
      economic model with substantial operating leverage.

             Our 2020 results demonstrate Rocket’s ability to drive increased
      scale from a single platform with limited incremental cost.

      26.    During the question-and-answer portion of the call, the Individual

Defendants repeatedly claimed that Rocket remained in an extraordinary favorable

market environment. For example, defendant Farner described the real estate market

as “red hot” and, in response to an analyst question, stated that demand remained at

record highs and downplayed the Company’s sensitivity to rising interest rates, stating

in pertinent part as follows:

      We’re seeing strong consumer demand especially in the housing
      market. I mean, it’s the strongest that it’s been here in the last decade.


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      And current rates are still incredibly low. So that means it’s very
      affordable to buy a home.

             And there’s still millions of Americans out there that can save well
      over $100 a month on their monthly payment by refinancing their home.
      There are also many Americans out there that are looking to invest in
      their home: home improvements and those sorts of things. So like I said,
      we’re seeing strong consumer demand. I know Julie’s given the
      guidance for the next quarter, which is kind of where we’re willing to
      go at this point in time. I’ll draw your attention to the fact that overall,
      we were able to grow volume twice as fast as the industry in 2020. And
      so when we think about our opportunity to invest in marketing, invest in
      technology and continue to grow market share in 2021, we feel very
      strong about that. And we think that, that investment – it will not only
      grow our market for mortgage and real estate, but it’ll start feeding these
      other businesses like I talked about: auto, for example, on our platform.

      27.   Similarly, defendant Booth responded to an analyst question about where

the Company’s gain on sale margins were heading “directionally” over the course of

the year by reaffirming that the Company was benefiting from abnormally high

demand and claiming that “margins are still well ahead of where they were a year

ago.” Defendant Booth further represented that this favorable “momentum” was

continuing and that Rocket’s competitive advantages allowed it to maintain

“profitability in any environment,” as reflected in the following exchange:

      James Eugene Faucette – Morgan Stanley, Research Division – MD

             That’s really useful. And Julie, you did give very specific
      guidance for first quarter. So we appreciate that. How should we think
      about, particularly the evolution of gain on sale through the course of
      the year, at least directionally? And any color you can you can give us
      to help us think about like what the current environment is for selling
      of loans and how you’re anticipating that, roughly, to evolve over the
      year?

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      Julie R. Booth – Rocket Companies, Inc. – CFO & Treasurer

             Yes. Sure. First of all, say, we’re still in a very strong demand
      environment with the Fed buying 95% or so of all conforming
      mortgage production today. The demand environment’s very strong.
      One thing to remember about us, as well, as a market leader, we also
      benefit from the scale of our business when we execute into the
      secondary market. So we have advantages because of that, so we’ve
      seen gain-on-sale margins of 4.52% in Q3 of this year. And then we
      saw continued strength as we came into Q4, coming in at 4.41%. And
      then as we look ahead into Q1, our expectations, as I said, for gain-on-
      sale margins are between 3.6% and 3.9%, and this is up from 3.25% in
      Q1 of last year. So margins are still well ahead of where they were a
      year ago. And then I’ll also point out at the same time, we’re still seeing
      strong closed loan volume. Our closed loan volume in Q4 of $107
      billion and then looking ahead into Q1, between $98 million and $103
      billion: with those numbers, that would be the second biggest quarter in
      our company’s history. So to put this in perspective, just a little bit
      more, the midpoint for our guidance is roughly 95% higher than our Q1
      volume. So the flexibility of our platform that we’ve talked about
      allows us to really run our business for long-term growth and for
      profitability in any environment. And we’re really feeling good about
      the momentum that we’re seeing.

      28.    Later in the conference call, defendant Walters represented that Rocket

was able to maintain the “consistency of those margins” even in a rising interest rate

environment because of the Company’s competitive advantages, such as its brand and

multi-channel platform, stating in pertinent part as follows:

             Yes, Dave, I think it’s a good question. It’s important in a lot of
      ways, when interest rates have risen in the past, those have been when
      we’ve made some of our most powerful share gains. We have a lot of
      advantages that our competitors don’t have. And Jay and Julie
      touched on because of the brand, because of our brand, there’s only 1
      national mortgage brand, it really allows for the consistency of those
      margins. So not only are we able to protect those, but also gain share
      in these sorts of environments. And there’s a lot of different areas that

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      we are gaining those shares. We have we have multiple channels. A lot
      of our competitors don’t have those multiples. And we talked about the
      Pro channel. And we talk – certainly the direct-to-consumer channel.
      And there’s also a pretty persistent market of less interest rate-sensitive
      products, whether it be mortgage insurance, whether it be equity
      extraction. So cash out, we know that homes have risen in an incredible
      amount. The amount of equity in the market is really substantial. That
      is – that is something that really will drive the market in the years to
      come. And then there’s also a very, very robust purchase market and –
      that we’re very active in. So you asked for that ideal, that ideal channel
      or ideal is really – it is these sorts of markets that we have grown in the
      past and taken advantage of a lot of the attributes that we have that our
      competitors don’t.

      29.    During the earnings conference call, in response to an analyst question,

defendant Farner similarly downplayed the effects of competition on the Company’s

gain on sale margins. He stated in pertinent part:

      [A]s the market compresses, and these things happen pretty quickly,
      folks who decided to get into the market by hiring folks and adding
      bodies and spending money, they find that it gets very hard to be in the
      mortgage business very quickly. And so the same slack that – the same
      capacity that went in comes out.

Defendant Farner continued, stating:

      And so for those remaining, not only does the margin stabilize and give
      you the opportunity to see that increase, but it also gives you what you
      pointed out: great opportunity to grow market share. . . . So it really is a
      very exciting opportunity for us as we see rates tick up a bit because it
      creates this process I’ve just discussed, which leads to market share
      growth and leads a line of sight to really strong future profitability as
      well for us.

      30.    Defendant Walters followed up on these comments by stating: “If you

look back decades, you’ll see a very consistent track record of gain on sale,” which he

claimed was “really one of the, I think, one of the hallmarks of the company.”
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      31.    On March 3, 2021, defendant Farner presented on Rocket to analysts and

investors at the Morgan Stanley Technology, Media and Telecom Conference. In

response to an analyst question about how Rocket navigated rising interest rate

environments, defendant Farner stated that Rocket had positioned itself “so we can

protect our margin in all different interest rate cycles and grow our company.”

      32.    On March 24, 2021, Rocket filed its fourth quarter and full-year 2020

results with the SEC on Form 10-K, which was signed by each of the Individual

Defendants. The Form 10-K contained financial information regarding Rocket’s

fourth quarter and full-year 2020 gain on sale margins contained in the FY20 Release.

      33.    On March 29, 2021, two days before the end of the first quarter, Rock

Holdings, Inc. (“RHI”), which was majority owned by defendant Gilbert and overseen

by certain of the Individual Defendants, sold 20.2 million Rocket shares at $24.75 per

share for nearly $500 million in gross sale proceeds, without disclosing the

information listed in ¶34.

      34.    The statements referenced in ¶¶24-33 above were materially false and

misleading when made because they misrepresented and failed to disclose the adverse

facts about Rocket’s business, operations and prospects, which were known to

defendants or recklessly disregarded by them, as follows:

             (a)   that Rocket’s gain on sale margins were contracting at the highest

rate in two years as a result of increased competition among mortgage lenders, an

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unfavorable shift toward the lower margin Partner Network operating segment and

compression in the price spread between the primary and secondary mortgage

markets;

             (b)    that Rocket was engaged in a price war and battle for market share

with its primary competitors in the wholesale market, which was further compressing

margins in Rocket’s Partner Network operating segment;

             (c)    that the adverse trends identified above were accelerating and, as a

result, Rocket’s gain on sale margins were on track to plummet at least 140 basis

points in the first six months of 2021;

             (d)    that, as a result of the above, the favorable market conditions that

had preceded the Class Period and allowed Rocket to achieve historically high gain on

sale margins had vanished as the Company’s gain on sale margins had returned to

levels not seen since the first quarter of 2019;

             (e)    that, rather than remaining elevated due to surging demand,

Rocket’s Company-wide gain-on-sale margins had fallen materially below recent

historical averages; and

             (f)    that as a result of the foregoing, defendants’ positive statements

about the Company’s business operations and prospects were materially misleading

and/or lacked a reasonable basis.




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      35.    Then, on May 5, 2021, Rocket issued a press release announcing its first

quarter results and second quarter outlook. Rocket reported that it was on track to

achieve closed loan volume within a range of only $82.5 billion and $87.5 billion and

gain on sale margins within a range of only 2.65% to 2.95% for the second quarter of

2021. At the mid-point, this gain on sale margin estimate equated to a 239 basis point

decline year-over-year and a 94 basis point decline sequentially, which represented

the Company’s lowest quarterly gain on sale margin in two years. The stunning

collapse in the Company’s gain on sale margin reflected the fact that the favorable

market conditions purportedly being experienced by the Company during the Class

Period had in fact reversed. During a conference call to explain the results, defendant

Booth revealed that the sharp decline in quarterly gain on sale margin was being

caused by three factors: (i) pressure on loan pricing; (ii) a product mix shift to

Rocket’s lower margin Partner Network segment; and (iii) a compression in price

spreads between the primary and secondary mortgage markets. Defendant Booth also

admitted that certain of these trends began “at the end of Q1” – i.e., before the

massive insider sales by RHI.

      36.    As a result of this news, the price of Rocket Class A common stock

dropped from $22.80 per share when the market closed on May 5, 2021 to $19.01 per

share when the market closed on May 6, 2021, a nearly 17% decline, on very heavy

volume of over 37 million shares traded. As the market continued to digest the news

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in the days that followed, the price of Rocket Class A common stock continued to

decline, falling to a low of just $16.48 per share by May 11, 2021.

      37.    As a result of defendants’ wrongful acts and omissions, and the

precipitous decline in the market value of Rocket Class A common stock, plaintiff and

other Class members have suffered significant losses and damages.

                        CLASS ACTION ALLEGATIONS

      38.    Plaintiff brings this action as a class action on behalf of a class consisting

of all persons who purchased Rocket Class A common stock during the Class Period

(the “Class”). Excluded from the Class are defendants and their families, the officers,

directors and affiliates of defendants, at all relevant times, and members of their

immediate families, and their legal representatives, heirs, successors or assigns and

any entity in which defendants have or had a controlling interest.

      39.    The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Rocket Class A common stock was

actively traded on the NYSE. While the exact number of Class members is unknown

to plaintiff at this time and can only be ascertained through appropriate discovery,

plaintiff believes that there are hundreds or thousands of members in the proposed

Class. Record owners and other members of the Class may be identified from records

maintained by Rocket or its transfer agent and may be notified of the pendency of this

action by mail, using the form of notice similar to that customarily used in securities


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class actions, including being given an opportunity to exclude themselves from the

Class.

         40.   Plaintiff’s claims are typical of the claims of the members of the Class, as

all members of the Class are similarly affected by defendants’ wrongful conduct in

violation of federal law that is complained of herein.

         41.   Plaintiff will fairly and adequately protect the interests of the members of

the Class and has retained counsel competent and experienced in class and securities

litigation.

         42.   Common questions of law and fact exist as to all members of the Class

and predominate over any questions solely affecting individual members of the Class.

Among the questions of law and fact common to the Class are:

               (a)   whether defendants’ statements during the Class Period were

materially false and misleading;

               (b)   whether defendants acted with scienter in issuing materially false

and misleading statements during the Class Period; and

               (c)   the extent of injuries sustained by the members of the Class and the

appropriate measure of damages.

         43.   A class action is superior to all other available methods for the fair and

efficient adjudication of this controversy since joinder of all members is

impracticable. Furthermore, as the damages suffered by individual Class members

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may be relatively small, the expense and burden of individual litigation make it

impossible for members of the Class to individually redress the wrongs done to them.

There will be no difficulty in the management of this action as a class action.

                 ADDITIONAL SCIENTER ALLEGATIONS

      44.    As alleged herein, defendants acted with scienter in that defendants

knew, or recklessly disregarded, that the public documents and statements they issued

and disseminated to the investing public in the name of the Company, or in their own

name, during the Class Period were materially false and misleading. Defendants

knowingly and substantially participated or acquiesced in the issuance or

dissemination of such statements and documents as primary violations of the federal

securities laws. Defendants, by virtue of their receipt of information reflecting the

true facts regarding Rocket, and their control over and/or receipt and/or modification

of Rocket’s allegedly materially misleading misstatements, were active and culpable

participants in the fraudulent scheme alleged herein.

      45.    Defendants knew and/or recklessly disregarded the false and misleading

nature of the information they caused to be disseminated to the investing public. The

fraudulent scheme described herein could not have been perpetrated during the Class

Period without the knowledge and complicity of, or at least the reckless disregard by,

personnel at the highest levels of the Company, including the Individual Defendants.




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      46.    The Individual Defendants, because of their positions with Rocket,

controlled the contents of Rocket’s public statements during the Class Period. The

Individual Defendants were each provided with or had access to the information

alleged herein to be false and/or misleading prior to or shortly after its issuance and

had the ability and opportunity to prevent its issuance or cause it to be corrected.

Because of their positions and access to material non-public information, the

Individual Defendants knew or recklessly disregarded that the adverse facts specified

herein had not been disclosed to and were being concealed from the public and that

the positive representations that were being made were false and misleading. As a

result, each of the defendants is responsible for the accuracy of Rocket’s corporate

statements and is, therefore, responsible and liable for the representations contained

therein.

      47.    The scienter of defendants is further underscored by the mandated

certifications under the Sarbanes-Oxley Act of 2002 of defendants Farner and Booth

filed during the Class Period, which acknowledged their responsibility to investors for

establishing and maintaining controls to ensure that material information about Rocket

was made known to them and that the Company’s disclosure-related controls were

operating effectively.

      48.    In addition, RHI, which was majority owned and controlled by defendant

Gilbert and had been overseen by certain of the Individual Defendants, sold nearly

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$500 million worth of Rocket stock at $24.75 per share during the Class Period.

These sales occurred on March 29, 2021, just two days before the end of Rocket’s first

fiscal quarter.

                               LOSS CAUSATION

       49.    During the Class Period, as detailed herein, defendants engaged in a

scheme to deceive the market and a course of conduct that artificially inflated the

price of Rocket Class A common stock and operated as a fraud or deceit on Class

Period purchasers of Rocket stock by failing to disclose and misrepresenting the

adverse facts detailed herein.    When defendants’ prior misrepresentations and

fraudulent conduct were disclosed and became apparent to the market, the price of

Rocket common stock declined significantly as the prior artificial inflation came out

of the stock’s price.

       50.    As a result of their purchases of Rocket common stock during the Class

Period, plaintiff and the other Class members suffered economic loss, i.e., damages,

under the federal securities laws. Defendants’ false and misleading statements had the

intended effect and caused Rocket Class A common stock to trade at artificially

inflated levels throughout the Class Period, trading as high as $43 per share on March

2, 2021.

       51.    By concealing from investors the adverse facts detailed herein,

defendants presented a misleading picture of Rocket’s business, risks and future


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financial prospects. When the truth about the Company was revealed to the market,

the price of Rocket Class A common stock fell significantly, dropping to below $17

per share by May 11, 2021, removing the inflation therefrom and causing economic

loss to investors who had purchased Rocket Class A common stock during the Class

Period.

      52.    The decline in the price of Rocket Class A common stock after the

corrective disclosures came to light was a direct result of the nature and extent of

defendants’ fraudulent misrepresentations being revealed to investors and the market.

The timing and magnitude of the price decline in Rocket Class A common stock

negates any inference that the losses suffered by plaintiff and the other Class members

were caused by changed market conditions, macroeconomic or industry factors, or

Company-specific facts unrelated to defendants’ fraudulent conduct.

      53.    The economic loss, i.e., damages, suffered by plaintiff and the other

Class members was a direct result of defendants’ fraudulent scheme to artificially

inflate the price of Rocket Class A common stock and the subsequent significant

declines in the value of Rocket Class A common stock when defendants’ prior

misrepresentations and other fraudulent conduct were revealed.

          APPLICABILITY OF THE PRESUMPTION OF RELIANCE:
                      FRAUD ON THE MARKET

      54.    At all relevant times, the market for Rocket Class A common stock was

an efficient market for the following reasons, among others:
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             (a)    Rocket common stock met the requirements for listing and was

listed and actively traded on the NYSE, a highly efficient, national stock market;

             (b)    as a regulated issuer, Rocket filed periodic public reports with the

SEC;

             (c)    Rocket regularly communicated with public investors via

established market communication mechanisms, including the regular dissemination

of press releases on the national circuits of major newswire services and other wide-

ranging public disclosures, such as communications with the financial press and other

similar reporting services; and

             (d)    Rocket was followed by securities analysts employed by major

brokerage firms who wrote reports that were distributed to the sales force and certain

customers of their respective brokerage firms. Each of these reports was publicly

available and entered the public marketplace.

       55.   As a result of the foregoing, the market for Rocket Class A common

stock promptly digested current information regarding Rocket from all publicly

available sources and reflected such information in the price of the stock. Under these

circumstances, all purchasers of Rocket Class A common stock during the Class

Period suffered similar injury through their purchases of Rocket common stock at

artificially inflated prices and a presumption of reliance applies.




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      56.    A Class-wide presumption of reliance is also appropriate in this action

under the Supreme Court’s holding in Affiliated Ute Citizens v. United States, 406

U.S. 128 (1972), because the Class’s claims are, in large part, grounded on

defendants’ material misstatements and/or omissions. Because this action involves

defendants’ failure to disclose material adverse information regarding the Company’s

business operations and financial prospects – information that defendants were

obligated to disclose – positive proof of reliance is not a prerequisite to recovery. All

that is necessary is that the facts withheld be material in the sense that a reasonable

investor might have considered them important in making investment decisions.

Given the importance of the Class Period material misstatements and omissions set

forth above, that requirement is satisfied here.

                                NO SAFE HARBOR

      57.    The statutory safe harbor provided for forward-looking statements under

certain circumstances does not apply to any of the allegedly false statements pleaded

in this complaint. Many of the specific statements plead herein were not identified as

“forward-looking statements” when made. To the extent there were any forward-

looking statements, there were no meaningful cautionary statements identifying

important factors that could cause actual results to differ materially from those in the

purportedly forward-looking statements. Alternatively, to the extent that the statutory

safe harbor does apply to any forward-looking statements plead herein, defendants are


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liable for those false forward-looking statements because at the time each of those

forward-looking statements was made, the particular speaker knew that the particular

forward-looking statement was false and/or the forward-looking statement was

authorized and/or approved by an executive officer of Rocket who knew that those

statements were false when made.

                                      COUNT I

                   For Violation of §10(b) of the 1934 Act and
                     Rule 10b-5 Promulgated Thereunder
                            Against All Defendants

      58.    Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

      59.    During the Class Period, defendants disseminated or approved the false

statements specified above, which they knew or deliberately disregarded were

misleading in that they contained misrepresentations and failed to disclose material

facts necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading.

      60.    Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:

             (a)    employed devices, schemes and artifices to defraud;

             (b)    made untrue statements of material fact or omitted to state material

facts necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading; or


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             (c)    engaged in acts, practices, and a course of business that operated as

a fraud or deceit upon plaintiff and others similarly situated in connection with their

purchases of Rocket common stock during the Class Period.

      61.    Plaintiff and the Class have suffered damages in that, in reliance on the

integrity of the market, they paid artificially inflated prices for Rocket Class A

common stock. Plaintiff and the Class would not have purchased Rocket common

stock at the prices they paid, or at all, if they had been aware that the market price had

been artificially and falsely inflated by defendants’ misleading statements.

      62.    As a direct and proximate result of defendants’ wrongful conduct,

plaintiff and the other members of the Class suffered damages in connection with their

purchases of Rocket Class A common stock during the Class Period.

                                      COUNT II

                      For Violation of §20(a) of the 1934 Act
                             Against All Defendants

      63.    Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

      64.    The Individual Defendants acted as controlling persons of Rocket within

the meaning of §20(a) of the 1934 Act. By reason of their positions with the

Company, and their ownership of Rocket stock, the Individual Defendants had the

power and authority to cause Rocket to engage in the wrongful conduct complained of



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herein. Rocket controlled the Individual Defendants and all of its employees. By

reason of such conduct, defendants are liable pursuant to §20(a) of the 1934 Act.

                              PRAYER FOR RELIEF

      WHEREFORE, plaintiff prays for relief and judgment, as follows:

      A.     Designating plaintiff as Lead Plaintiff and declaring this action to be a

class action properly maintained pursuant to Rule 23 of the Federal Rules of Civil

Procedure and plaintiff’s counsel as Lead Counsel;

      B.     Awarding compensatory damages in favor of plaintiff and the other Class

members against all defendants, jointly and severally, for all damages sustained as a

result of defendants’ wrongdoing, in an amount to be proven at trial, including interest

thereon;

      C.     Awarding plaintiff and the Class their reasonable costs and expenses

incurred in this action, including counsel fees and expert fees; and

      D.     Awarding such equitable/injunctive or other relief as the Court may deem

just and proper, including permitting any putative Class members to exclude

themselves by requesting exclusion through noticed procedures.

                                  JURY DEMAND

      Plaintiff hereby demands a trial by jury.




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DATED: June 29, 2021                THE MILLER LAW FIRM, P.C.

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                                   CERTIFICATION OF NAMED PLAINTIFF
                                 PURSUANT TO FEDERAL SECURITIES LAWS

                     ZOYA QAIYUM (“Plaintiff”) declares:
                     1.      Plaintiff has reviewed a complaint and authorized its filing.
                     2.      Plaintiff did not acquire the security that is the subject of this action at
            the direction of plaintiff’s counsel or in order to participate in this private action or
            any other litigation under the federal securities laws.
                     3.      Plaintiff is willing to serve as a representative party on behalf of the
            class, including providing testimony at deposition and trial, if necessary.
                     4.      Plaintiff has made the following transaction(s) during the Class Period in the
            securities that are the subject of this action:
              Security                   Transaction                 Date            Price Per Share

                                                   See attached Schedule A.

                     5.      Plaintiff has not sought to serve or served as a representative party in a
            class action that was filed under the federal securities laws within the three-year
            period prior to the date of this Certification except as detailed below:
                                                             None.
                     6.      Plaintiff will not accept any payment for serving as a representative
            party on behalf of the class beyond the Plaintiff’s pro rata share of any recovery,
            except such reasonable costs and expenses (including lost wages) directly relating
            to the representation of the class as ordered or approved by the court.
                     I declare under penalty of perjury that the foregoing is true and correct.
            Executed this ____ day of June, 2021.
                            6/21/2021



                                                                            ZOYA QAIYUM



                                                                                          ROCKET COMPANIES
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                                                             SCHEDULE A

                                                  SECURITIES TRANSACTIONS

                                      Stock

                                      Date                       Amount of
                                    Acquired                   Shares Acquired                Price*

                                   03/02/2021                         500                    $36.19

        Prices listed are rounded to two decimal places.

        *Adjustment factor of 0.95578 applied to all transactions (prices) to reflect the 03/08/2021 Special Cash Dividend.
